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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                       LAKE CHARLES DIVISION

 THE STATE OF LOUISIANA,                    CIVIL DOCKET NO. 2:24-cv-00629
 ET AL

 VERSUS                                     JUDGE DAVID C. JOSEPH

 EQUAL EMPLOYMENT                           MAGISTRATE JUDGE THOMAS P.
 OPPORTUNITY COMMISSION                     LEBLANC


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 UNITED STATES CONFERENCE OF                CIVIL DOCKET NO. 2:24-cv-00691
 CATHOLIC BISHOPS, ET AL

 VERSUS                                     JUDGE DAVID C. JOSEPH

 EQUAL EMPLOYMENT                           MAGISTRATE JUDGE THOMAS P.
 OPPORTUNITY COMMISSION,                    LEBLANC
 ET AL


                             MEMORANDUM ORDER

       Before the Court are cross-motions for summary judgment in the above-

 captioned cases in which the respective plaintiffs seek partial vacatur of the EEOC’s

 Final Rule implementing the Pregnant Worker Fairness Act (“PWFA”), 42 U.S.C. §

 2000gg, et seq. Among other issues, the Plaintiff States of Mississippi and Louisiana,

 as well as four organizations affiliated with the Roman Catholic Church, posit that

 an “abortion accommodation mandate” included in the Final Rule was not authorized

 by Congress. For the reasons discussed below, the record before the Court clearly

 establishes that the EEOC has exceeded its statutory authority to implement the

 PWFA and, in doing so, both unlawfully expropriated the authority of Congress and




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 encroached upon the sovereignty of the Plaintiff States under basic principles of

 federalism. 42 U.S.C. § 2000gg, et seq. For the reasons discussed below, the Court

 vacates the “abortion accommodation mandate” as described herein and remands this

 matter to the EEOC to revise the Final Rule and all related Implementing

 Regulations and Guidance in accordance with this Order.

        The issues before the Court are raised in four cross-motions for summary

 judgment in the above-captioned consolidated matters. In the matter entitled State

 of Louisiana, et al v. EEOC, No. 2:24-cv-00629-DCJ-TPL (the “States Lawsuit”), there

 is (i) a MOTION TO DISMISS, OR IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT [Doc. 68]

 filed by Defendant Equal Employment Opportunity Commission (“EEOC”); and (ii) a

 MOTION FOR SUMMARY JUDGMENT [Doc. 70] filed by the Plaintiff States of Louisiana

 and Mississippi (the “States Plaintiffs”).        In the matter entitled United States

 Conference of Catholic Bishops, et al v. EEOC, et al, No. 2:24-cv-00691-DCJ-TPL (the

 “Bishops” Lawsuit), there is (i) a MOTION TO DISMISS, OR IN THE ALTERNATIVE, FOR

 SUMMARY JUDGMENT [Doc. 75] filed by the EEOC; and (ii) a MOTION FOR PARTIAL

 SUMMARY JUDGMENT AND PERMANENT INJUNCTION [Doc. 77] filed by the four entities

 affiliated with the Roman Catholic Church 1 (the “Bishops Plaintiffs”) (collectively, the




 1       The Plaintiff entities in the Bishops lawsuit are the United States Conference of
 Catholic Bishops (“USCCB”), Society of the Roman Catholic Church of the Diocese of Lake
 Charles (“Diocese of Lake Charles”), Society of the Roman Catholic Church of the Diocese of
 Lafayette (“Diocese of Lafayette”), and Catholic University of America (“Catholic University”)
 (collectively, the “Bishops Plaintiffs”).

 The defendants in the Bishops lawsuit are EEOC and Charlotte Burrows, Chair of the EEOC,
 sued in her official capacity only. Ms. Burrows was dismissed by President Trump on
 January 27, 2025, after the preliminary injunction was filed, and was replaced by Acting


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 “Motions”). 2 Invoking this Court’s authority under Sections 706(2)(A)(B)&(C) of the

 Administrative Procedure Act, 5 U.S.C. §706, the Motions filed by the States and

 Bishops Plaintiffs seek vacatur of the abortion accommodation mandate of the

 Implementation of the Pregnant Workers Fairness Act, 29 C.F.R. § 1636, et seq.

 (hereinafter, the “Final Rule”), 3 which implements and interprets the PWFA. 4 The

 Plaintiffs also seek conversion of the Court’s June 17, 2024, preliminary injunction

 (“PI”) into a permanent injunction prohibiting the EEOC from enforcing the Final

 Rule against them in such a manner as would require Plaintiffs to provide



 Chair Andrea R. Lucas. In addition to Ms. Lucas, the EEOC is currently staffed by
 Commissioner Kalpana Kotagal.

 2       In response to the States Plaintiffs’ Motion [Doc. 70, States Lawsuit], EEOC filed a
 response [Doc. 75, States Lawsuit], and the States Plaintiffs filed a reply brief [Doc. 88, States
 Lawsuit]. In response to the EEOC’s Motion [Doc. 68, States Lawsuit], the States Plaintiffs
 filed a response [Doc. 76, States Lawsuit], and the EEOC filed a reply brief [Doc. 87, States
 Lawsuit].

 In response to the Bishops Plaintiffs’ Motion [Doc. 77, Bishops Lawsuit], the EEOC filed a
 response [Doc. 81, Bishops Lawsuit], and the Bishops Plaintiffs filed a reply brief [Doc. 90,
 Bishops Lawsuit]. In response to the EEOC’s Motion [Doc. 75, Bishops Lawsuit], the Bishops
 Plaintiffs filed a response [Doc. 83, Bishops Lawsuit], and the EEOC filed a reply brief [Doc.
 89, Bishops Lawsuit]. Additionally, the Bishops Plaintiffs subsequently filed several Notices
 of Supplemental Authority in Support of their Motion for Partial Summary Judgment and
 Permanent Injunction.

 3       The regulations in the Final Rule were codified at 29 C.F.R. § 1636, et seq. Appendix
 A to Part 1636, designated as “Interpretive Guidance on the Pregnant Workers Fairness Act,”
 contains information concerning how the EEOC interprets the standards set forth in the
 Final Rule. 89 Fed. Reg. 209,096, et seq. (April 19, 2024) is the Federal Register’s publication
 of the Final Rule and the Interpretive Guidance. For purposes of this Ruling, the Court refers
 to the regulations as codified in the C.F.R. and the Interpretive Guidance at their citations
 in the Federal Register.

 4      The Bishops Plaintiffs also argue that the “Final Rule and EEOC’s interpretation”
 therein of Title VII, 42 U.S.C. § 2000e, et seq. also exceed the statutory authority granted
 under Title VII “because, like the PWFA, Title VII does not cover abortion.” [Doc. 1, Bishops
 Lawsuit, ¶ 150].



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 accommodation for the elective abortions of employees that are not necessary to treat

 a medical condition related to pregnancy. 5 The EEOC’s motions seek dismissal of the

 Plaintiffs’ claims in both cases.

                 FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       The facts of this case are not disputed. In December 2022, the PWFA was

 passed into law as part of the year-end consolidated appropriations package. See

 Consolidated Appropriations Act, 2023, div. II, Pub. L. 117-328 (2022), 136 Stat. at

 6084; 42 U.S.C. §§ 2000gg – 2000gg-6.         Aimed at addressing gaps in existing

 legislation regarding protections for pregnant workers, the PWFA adopts an

 accommodation regime similar to the Americans with Disabilities Act (“ADA”), 42

 U.S.C. § 12101, et seq., for pregnant workers and adopts the powers, remedies, and

 procedures of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-4 et seq., as

 enforcement measures.

       Principally,    the   PWFA     requires    employers     to   “make    reasonable

 accommodations to the known limitations related to the pregnancy, childbirth, or

 related medical conditions of a qualified employee, unless such covered entity can

 demonstrate that the accommodation would impose an undue hardship on the

 operation of the business of such covered entity.” 42 U.S.C. § 2000gg-1(1). The PWFA

 defines “known limitation” as a “physical or mental condition related to, affected by,

 or arising out of pregnancy, childbirth, or related medical conditions.” Id. § 2000gg(4).



 5      Specifically, the States Plaintiffs seek summary judgment on Counts I-IV in their
 Complaint, and the Bishops Plaintiffs seek summary judgment on Counts I, III, V-VII, and
 IX-X in their Complaint.


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       In effect, the PWFA prohibits employers from denying employment

 opportunities due to a covered employee’s need for a reasonable accommodation or

 retaliating against an employee for requesting or using a reasonable accommodation.

 42 U.S.C. §§ 2000gg-1(3), (5). Nor can an employer “require a qualified employee to

 take leave, whether paid or unpaid, if another reasonable accommodation can be

 provided to the known limitation.” 42 U.S.C. § 2000gg-1(4). The PWFA adopts the

 ADA’s definitions for “reasonable accommodation” and “undue hardship,” as well as

 the ADA’s “interactive process” for determining a proper accommodation. 42 U.S.C.

 § 2000gg(7). It also specifically provides that employers cannot “require a qualified

 employee ... to accept an accommodation other than any reasonable accommodation

 arrived at through the interactive process.” 42 U.S.C. § 2000gg-1(2). The PWFA’s

 requirements apply to any private employer with 15 or more employees as well as

 government employers, including the States of Louisiana and Mississippi (“covered

 entities”). 42 U.S.C. § 2000gg. The PWFA allows private action after administrative

 remedies are exhausted, and the EEOC has investigative and enforcement powers

 under the PWFA as it does under Title VII. 42 U.S.C. § 2000gg-2. Finally, pursuant

 to Section 5 of the Fourteenth Amendment, the PWFA also specifically waives the

 Eleventh Amendment immunity of state employers for covered employment-related

 actions. 42 U.S.C. § 2000gg-4.

       As part of the Act, Congress tasked the EEOC with issuing regulations to carry

 out the PWFA and directed that such regulations “shall provide examples of

 reasonable accommodations addressing known limitations related to pregnancy,




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 childbirth, or related medical conditions.” 42 U.S.C. § 2000gg-3. On August 11, 2023,

 the EEOC proposed a rule that would require covered employers – including States

 – to accommodate, among other things, elective abortions. 88 Fed. Reg. 54,714 (Aug.

 11, 2023) (Proposed Rule). Specifically, the EEOC stated in the proposed rule that

 “having ... an abortion” constitutes an “example[] of pregnancy, childbirth, or related

 medical condition[]” and that employers are therefore required to provide employees

 with reasonable accommodations for abortions under the PWFA (the “abortion

 accommodation mandate”). Id. Despite widespread opposition, 6 on April 19, 2024,

 the EEOC included the contested language in the Final Rule, which defines “related

 medical conditions” as “medical conditions relating to ... pregnancy or childbirth,” and

 provides examples including “termination of pregnancy, including via miscarriage,

 stillbirth, or abortion.” 29 C.F.R. § 1636.3(b). 7 By inserting the definition of “related



 6      Specifically, more than 54,000 individuals and organizations submitted comments
 opposing the Proposed Rule’s abortion accommodation mandate, including Plaintiffs
 Louisiana, Mississippi, USCCB, and Catholic University.

 7     29 C.F.R. 1636.3(b) defines “related medical conditions” as follows:

       (b) Pregnancy, childbirth, or related medical conditions. “Pregnancy”
           and “childbirth” refer to the pregnancy or childbirth of the specific employee
           in question and include, but are not limited to, current pregnancy; past
           pregnancy; potential or intended pregnancy (which can include infertility,
           fertility treatment, and the use of contraception); labor; and childbirth
           (including vaginal and cesarean delivery). “Related medical conditions” are
           medical conditions relating to the pregnancy or childbirth of the specific
           employee in question. The following are examples of conditions that are, or
           may be, “related medical conditions”: termination of pregnancy,
           including via miscarriage, stillbirth, or abortion; ectopic pregnancy;
           preterm labor; pelvic prolapse; nerve injuries; cesarean or perineal wound
           infection; maternal cardiometabolic disease; gestational diabetes;
           preeclampsia; HELLP (hemolysis, elevated liver enzymes and low
           platelets) syndrome; hyperemesis gravidarum; anemia; endometriosis;
           sciatica; lumbar lordosis; carpal tunnel syndrome; chronic migraines;


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 medical conditions” from the Final Rule into the PWFA, the EEOC has taken the

 position   that   the    PWFA     requires    covered    entities    to    make    reasonable

 accommodations to employees who receive an abortion and prohibits covered entities

 from taking adverse employment actions against employees who request or use

 accommodations in relation to receiving an abortion, unless the covered entity is

 entitled to an exemption or defense.

       The Bishops Plaintiffs also contend that, while the PWFA incorporates the

 religious employer exemption from Title VII, see 29 C.F.R. § 1636.7(b), the Final Rule

 declines to adopt a blanket exemption for religious employers. 8                  Instead, the




            dehydration; hemorrhoids; nausea or vomiting; edema of the legs, ankles,
            feet, or fingers; high blood pressure; infection; antenatal (during
            pregnancy) anxiety, depression, or psychosis; postpartum depression,
            anxiety, or psychosis; frequent urination; incontinence; loss of balance;
            vision changes; varicose veins; changes in hormone levels; vaginal bleeding;
            menstruation; and lactation and conditions related to lactation, such as low
            milk supply, engorgement, plugged ducts, mastitis, or fungal infections.
            This list is non-exhaustive.

 29 C.F.R. § 1636.3(b) (emphasis added). Furthermore, the Interpretive Guidance provides
 the following guidance:

       18. There are some medical conditions where the relation to pregnancy will be
           readily apparent. They can include, but are not limited to, lactation
           (including breastfeeding and pumping), miscarriage, stillbirth, having or
           choosing not to have an abortion, preeclampsia, gestational diabetes,
           and HELLP (hemolysis, elevated liver enzymes and low platelets)
           syndrome.

 89 Fed. Reg. 29,191 (emphasis added).

 8     29 C.F.R. 1636.7(b) provides:

       (b) Rule of construction. The PWFA and this part are subject to the
           applicability to religious employment set forth in section 702(a) of the Civil
           Rights Act of 1964, 42 U.S.C. 2000e–1(a).



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 Interpretive Guidance to the Final Rule explains that the merits of an employer’s

 defense that it took a proscribed action on the basis of religion will be determined on

 a “case-by-case” basis during the investigative phase. 89 Fed. Reg. 29,146-47. The

 Interpretive Guidance further explains that the EEOC does not have authority to

 “provide legally binding responses to employer inquiries about the potential

 applicability of religious or other defenses before” an individual files a charge of

 discrimination against a covered entity. Id. at 29, 147. Therefore, the Bishops

 Plaintiffs highlight that the determination of whether an employer has a valid

 religious exemption cannot occur until after an individual files a charge of

 discrimination and an EEOC investigation commences.

        On May 13, 2024, the States Plaintiffs filed the instant lawsuit against the

 EEOC, asserting that the abortion accommodation mandate of the Final Rule violates

 the Administrative Procedure Act (“APA”) and the Constitution. [Doc. 1, ¶ 82]. In a

 Motion for Preliminary Injunction filed on June 3, 2024 [Doc. 17], the States Plaintiffs

 challenged the Final Rule with respect to any duty “to accommodate purely elective

 abortions, 9 including those that would be prohibited by [that] State’s law” in light of




           (1) Nothing in 42 U.S.C. 2000gg–5(b) or this part should be interpreted
               to limit a covered entity’s rights under the U.S. Constitution.

           (2) Nothing in 42 U.S.C. 2000gg–5(b) or this part should be interpreted
               to limit an employee’s rights under other civil rights statutes.

 29 C.F.R. § 1636.7(b).

 9      The States Plaintiffs define “purely elective abortions” as “medically unnecessary
 abortions in violation of Louisiana and Mississippi law.” [Doc. 17-1, p. 15].



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 state legislation that restricts and limits abortion following the Supreme Court’s

 decision in Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 142 S. Ct. 2228, 213

 L.Ed.2d 545 (2022). 10

        On May 22, 2024, the Bishops Plaintiffs filed their Complaint [Doc. 1], along

 with a Motion for Preliminary Injunction [Doc. 11]. In addition to alleging that the

 Final Rule exceeds congressional authority in the same manner urged by the States,

 the Bishops Plaintiffs further contend that the Final Rule requires them to knowingly




 10      Louisiana prohibits all abortions except those that are determined to be medically
 necessary to prevent the death or substantial risk of death of the mother. See La. R.S. §
 40:1061, La. R.S. § 14:87.7, and La. R.S. § 14:87.8.1. The Louisiana Legislature has expressly
 set forth the State’s policy with respect to abortion:

        § 1061.1. Legislative intent; construction of abortion provisions law regulating
        abortion:

               A.(1) It is the intention of the Legislature of Louisiana to regulate,
        prohibit, or restrict abortion to the fullest extent permitted by the decisions of
        the Supreme Court of the United States. The legislature does solemnly
        declare, find, and reaffirm the longstanding public policy of this state that
        every unborn child is a human being from the moment of conception and is,
        therefore, a legal person for purposes under the laws of this state and
        Constitution of Louisiana.

               (2) The legislature further finds and declares that the longstanding
        policy of this state to protect the right to life of every unborn child from
        conception by prohibiting abortion is impermissible only because of the
        decisions of the Supreme Court of the United States and that, therefore, if
        those decisions of the Supreme Court of the United States are ever reversed or
        modified or the United States Constitution is amended to allow protection of
        the unborn then the public policy of this state to prohibit abortions shall be
        enforced.

 La. R.S. § 40:1061.1.

        Mississippi prohibits all abortions except those that are “necessary for the
 preservation of the mother’s life” or “where the pregnancy was caused by rape.” See Miss.
 Code Ann. § 41-41-45; Miss. Code Ann. § 97-3-3.



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 accommodate     employees     when    they   obtain    abortions,   even   where    such

 accommodations are contrary to their sincerely held religious beliefs; prohibits the

 Bishops Plaintiffs from taking adverse actions against employees or faculty that

 advocate for abortion accommodation, even where such actions are required by the

 Bishops Plaintiffs beliefs; and requires the Bishops Plaintiffs to change their religious

 speech and messaging concerning abortion in ways that support abortion. Id.

       On June 5, 2024, the Court consolidated the States and Bishops cases pursuant

 to FRCP 42(a)(2) for purposes of hearing and adjudicating the preliminary injunction

 motions, and thereafter, jointly conducting pretrial discovery and motions practice.

 [Doc. 18, States Lawsuit]; [Doc. 28, Bishops Lawsuit]. On June 17, 2024, after oral

 argument and the filing of post-hearing memoranda, the Court granted in part the

 Motions for Preliminary Injunction filed by the States and Bishops Plaintiffs (the “PI

 Ruling”). [Doc. 47, States Lawsuit]; [Doc. 53, Bishops Lawsuit].

       The Court’s PI Ruling provides a blueprint of the Court’s reasoning and

 analysis of the issues raised in the Motions.        While decided under the Rule 65

 standard for issuance of a preliminary injunction, the PI Ruling made several

 findings that are relevant to the instant Motions. Most importantly, the Court found

 that the Final Rule likely exceeds the EEOC’s statutory authority under basic

 principles of statutory construction, noting that any analysis of the Final Rule must

 begin with the presumption that Congress’s decision not to include any reference to

 abortion in the PWFA was intentional.         And while the PWFA explicitly cross-

 references provisions of Title VII throughout, the PWFA does not incorporate Title




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 VII’s amended pregnancy provision.       [Doc. 47, States Lawsuit, p. 19]; [Doc. 53,

 Bishops Lawsuit, p. 19] (citations omitted in both). The PI Ruling also found that “[i]f

 Congress had intended to mandate that employers accommodate elective abortions

 under the PWFA, it would have spoken clearly when enacting the statute,

 particularly given the enormous social, religious, and political importance of the

 abortion issue in our nation at this time (and, indeed, over the past 50 years).” [Doc.

 47, States Lawsuit, p. 20]; [Doc. 53, Bishops Lawsuit, p. 20].        Considering the

 foregoing, the Court concluded that, from a strictly textual standpoint, there is a

 complete lack of support for the EEOC’s contention that Congress intended for

 abortion to be defined as a “medical condition” under the PWFA.

       For largely the same reasons, the PI Ruling found the abortion accommodation

 mandate likely violates the “major questions doctrine,” finding a lack of evidence in

 the text of the statute or its legislative history that, “Congress could reasonably be

 understood to have granted the EEOC the authority to interpret the scope of the

 PWFA in a way that imposes a nationwide mandate on both public and private

 employers – irrespective of applicable abortion-related state laws enacted in the wake

 of Dobbs – to provide workplace accommodation for the elective abortions of

 employees.” [Doc. 47, States Lawsuit, p. 20]; [Doc. 53, Bishops Lawsuit, p. 20].

 Accordingly, the Court determined that the EEOC’s use of its regulatory power to

 insert the issue of abortion into a law designed to ensure healthy pregnancies for

 America’s working mothers squarely implicates the “major questions doctrine” as

 enunciated by the Supreme Court. EPA, 597 U.S. at 724. (The major questions




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 doctrine applies when an “agenc[y] assert[s] highly consequential power beyond what

 Congress could reasonably be understood to have granted”). Id.

       Specific to the issue of elective abortion, the Court found that,

       … Since the Supreme Court decision of Roe v. Wade in 1973, abortion
       has been one of the most important social, religious, and political issues
       of our time and is a major issue in every federal election. See Dobbs, 597
       U.S. at 223 (“Abortion presents a profound moral issue on which
       Americans hold sharply conflicting views.”); Dobbs, 597 U.S. at 337
       (“Abortion is a profoundly difficult and contentious issue because it
       presents an irreconcilable conflict between the interests of a pregnant
       woman who seeks an abortion and the interests in protecting fetal life.
       The interests on both sides of the abortion issue are extraordinarily
       weighty.”) (Kavanaugh, J, concurring). See also Planned Parenthood of
       Se. Pennsylvania v. Casey, 505 U.S. 833, 850, 112 S. Ct. 2791, 2806, 120
       L.Ed.2d 674 (1992) (“Men and women of good conscience can disagree,
       and we suppose some always shall disagree, about the profound moral
       and spiritual implications of terminating a pregnancy, even in its
       earliest stage.”), overruled by Dobbs, 597 U.S. at 302. Indeed, a 2023
       Gallup poll reported that a record high 28% of registered voters say they
       will only vote for candidates for major offices who share their position
       on abortion. Accordingly, EEOC must point to “clear congressional
       authorization” to extend the PWFA to impose an abortion
       accommodation mandate on public and private employers. Utility Air,
       573 U.S. at 324. Not only is the EEOC unable to point to any language
       in the PWFA empowering it to mandate the accommodation of elective
       abortions, but there can be little doubt in today’s political environment
       that any version of the PWFA that included an abortion accommodation
       requirement would have failed to pass Congress.

 [Doc. 47, States Lawsuit, pp. 21-22]; [Doc. 53, Bishops Lawsuit, pp. 21-22].

       With respect to the States Plaintiffs specifically, the Court further found that

 the Final Rule impedes the States’ abilities to control their own messaging with

 respect to abortion, and thereby likely interferes with the States’ abilities to enforce

 their laws and implement the chosen public policies of their citizens:

       … [B]ecause the abortion accommodation mandate forces the States
       Plaintiffs to provide (and fund) accommodations for elective abortions



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       that directly conflict with the States’ own laws and policies, the abortion
       accommodation mandate “is destructive of state sovereignty.” Garcia v.
       San Antonio Metro. Transit Auth., 469 U.S. 528, 554 (1985). The people
       of Louisiana and Mississippi, through their elected representatives,
       have chosen to enact legislation and promote public policy that is
       antithetical to the directives of the abortion accommodation mandate.
       The States Plaintiffs therefore adequately demonstrate that they are
       likely to succeed on their claims that the abortion accommodation
       mandate violates the principles of federalism and encroaches on state
       sovereignty.

       Finally, although the First Amendment does not confer rights on States,
       the “Supreme Court has made clear that the government (state and
       otherwise) has a ‘right’ to speak on its own behalf.” Missouri v. Biden,
       83 F.4th 350, 372 (5th Cir.), cert. granted sub nom. Murthy v. Missouri,
       144 S. Ct. 7, 217 L.Ed.2d 178 (2023), citing Bd. of Regents of Univ. of
       Wis. Sys. v. Southworth, 529 U.S. 217, 229, 120 S. Ct. 1346, 146 L.Ed.2d
       193 (2000). The abortion accommodation mandate unquestionably
       impedes on the authority of Louisiana and Mississippi to control their
       own messaging with respect to the issue of abortion within their borders.

 [Doc. 47, States Lawsuit, pp. 24-25]; [Doc. 53, Bishops Lawsuit, pp. 24-25].

       And with respect to the Bishops Plaintiffs, the Court concluded that EEOC’s

 failure to include a broad religious exception in the Final Rule likely runs afoul of the

 PWFA by forcing the Bishops Plaintiffs to address religious objections on a case-by-

 case basis, which – specifically with respect to the abortion accommodation mandate

 – would likely pose an injurious regulatory burden. [Doc. 47, States Lawsuit, pp. 27-

 29]; [Doc. 53, Bishops Lawsuit, pp. 27-29].

       At bottom, and after much deliberation, the Court found no merit to the

 EEOC’s position with respect to its inclusion of the abortion accommodation mandate

 and the Court granted the respective Plaintiffs’ motions, finding:

       At its core, this is a textbook case of a federal administrative agency
       exceeding its statutory authority in a way that both usurps the role of
       Congress and violates authority vested in the states under the principles



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        of federalism. Considering the foregoing, this Court finds a likelihood of
        success of the merits that EEOC’s textual interpretation of the PWFA
        to include an abortion accommodation mandate exceeds that agency’s
        Congressional authorization.

 [Doc. 47, States Lawsuit, p. 24]; [Doc. 53, Bishops Lawsuit, p. 24].

        Accordingly, the Court postponed the effective date of the Final Rule insofar

 as it required the Plaintiffs and certain employers in the states of Louisiana and

 Mississippi to provide accommodation for the elective abortions of employees not

 necessary to treat a medical condition related to pregnancy. [Doc. 47, States Lawsuit,

 pp. 31-32]; [Doc. 53, Bishops Lawsuit, pp. 31-32]. 11 It also preliminarily enjoined the

 EEOC with respect to these entities from: (i) initiating any investigation into claims

 that a covered employer has failed to accommodate an elective abortion that is not

 necessary to treat a medical condition related to pregnancy; and (ii) issuing any

 Notice of Right to Sue with respect to the same. 12 Id.

        In the Motions now before the Court, the States and Bishops Plaintiffs seek

 vacatur of the abortion accommodation provision of the Final Rule and a permanent

 injunction, while the EEOC seeks dismissal of the Plaintiffs’ claims in both cases. All

 issues having been fully briefed by the parties, and the parties now having provided

 the Court with the EEOC’s administrative record, all issues are ripe for review.



 11     The effective date of the Final Rule is June 18, 2024. Final Rule, 89 Fed. Reg. 29096-
 01.

 12     To avoid any uncertainty, the Court also clarified that terminations of pregnancy or
 abortions stemming from the underlying treatment of a medical condition related to
 pregnancy were not affected by the preliminary injunction, as such procedures are clearly
 “related to, affected by, or arising out of pregnancy, childbirth, or related medical conditions.”
 42 U.S.C. § 2000gg(4).



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                                  LAW AND ANALYSIS

 I.    The APA and Summary Judgment

       The APA “authorizes suit by ‘[a] person suffering legal wrong because of agency

 action, or adversely affected or aggrieved by agency action within the meaning of a

 relevant statute.’” Norton v. S. Utah Wilderness All., 542 U.S. 55, 61, 124 S. Ct. 2373,

 159 L.Ed.2d 137 (2004), quoting 5 U.S.C. § 702. The Act requires courts to “hold

 unlawful and set aside” agency action that is “arbitrary, capricious, an abuse of

 discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2). APA cases

 are commonly resolved on summary judgment because whether an agency’s decision

 is arbitrary and capricious is a legal question that the court can usually resolve on

 the agency’s administrative record. Amin v. Mayorkas, 24 F.4th 383, 390-91 (5th Cir.

 2022). Thus, the district court’s only function is to determine whether, as a matter of

 law, the evidence in the administrative record permitted the agency’s decision. Bloch

 v. Powell, 227 F. Supp. 2d 25, 30 (D.D.C. 2002). Because of the district court’s limited

 role, “the standard set forth in Rule 56(c) does not apply” to its summary judgment

 review in cases brought under the APA. Yogi Metals Grp. Inc. v. Garland, 567 F.

 Supp. 3d 793, 798 (S.D. Tex. 2021), aff’d, 38 F.4th 455 (5th Cir. 2022). Rather, the

 court reviews the record only to determine whether the agency: (1) acted within its

 authority; (2) whether the agency explained its decision; (3) whether the record

 supports the facts on which the agency relied; and (4) whether the agency relied on

 the factors intended by Congress. Yogi Metals, 567 F. Supp. 3d at 798, citing Fund

 for Animals v. Babbitt, 903 F. Supp. 96, 105 (D.C.C. 1995). Such cases generally




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 involve pure questions of law, with the district court functionally operating as an

 appellate tribunal over the agency. Nat’l Ass’n for Gun Rts., Inc. v. Garland, 741 F.

 Supp. 3d 568, 597 (N.D. Tex. 2024), citing MRC Energy Co. v. U.S. Citizenship &

 Immigr. Servs., 2021 WL 1209188, at *3 (N.D. Tex. Mar. 31, 2021).

 II.   Article III Standing

       Before any plaintiff may challenge an agency action under the APA, it bears

 the burden of demonstrating that it has standing to do so. Texas v. Equal Emp.

 Opportunity Comm’n, 933 F.3d 433, 446 (5th Cir. 2019). Specifically, “Article III of

 the Constitution requires a plaintiff to show that she has suffered an injury in fact

 that is fairly traceable to the defendant’s allegedly unlawful conduct and likely to be

 redressed by the requested relief.” Haaland v. Brackeen, 599 U.S. 255, 291-92, 143

 S. Ct. 1609, 216 L.Ed.2d 254 (2023); Braidwood Mgmt., Inc. v. Equal Emp.

 Opportunity Comm’n, 70 F.4th 914, 924 (5th Cir. 2023); Lujan v. Defenders of

 Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130, 119 L.Ed.2d 351 (1992). A plaintiff can

 demonstrate a cognizable injury in a pre-enforcement challenge only if it establishes

 that: (1) it has “an intention to engage in a course of conduct arguably affected with

 a constitutional interest, but proscribed by a statute,” and (2) “there exists a credible

 threat of prosecution thereunder.” Braidwood, 70 F.4th at 925, citing Susan B.

 Anthony List v. Driehaus, 573 U.S. 149, 159, 134 S. Ct. 2334, 189 L.Ed.2d 246 (2014).

 The two key questions in most standing disputes are injury-in-fact and causation.

 FDA, 2024 WL 2964140, at *1. The party or parties invoking the Court’s jurisdiction

 bear the burden of satisfying the Article III requirement by demonstrating that they




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 have standing to adjudicate their claims in federal court. Ramming v. United States,

 281 F.3d 158, 161 (5th Cir. 2001).

        Although the Court discussed and found that the respective Plaintiffs had

 established standing for purposes of seeking a preliminary injunction, it is required

 to re-examine the Plaintiffs’ standing at the summary judgment stage as well. In re

 Deepwater Horizon, 739 F.3d 790, 799 (5th Cir. 2014), citing Lujan v. Defenders of

 Wildlife, 504 U.S. 555, 560–61, 112 S. Ct. 2130, 119 L.Ed.2d 351 (1992) (the standard

 used to establish the three elements of standing is not constant but becomes

 gradually stricter as the parties proceed through “the successive stages of the

 litigation.”).

        A.        The States Plaintiffs

        As they did at the preliminary injunction stage, the States Plaintiffs argue they

 will suffer imminent injury-in-fact should the abortion accommodation mandate of

 the Final Rule take effect, because of increased regulatory burdens, increased

 compliance costs under penalty of enforcement actions, and damage to their

 sovereignty and free speech rights. EEOC argues the States Plaintiffs do not have

 standing because their alleged injuries are too speculative; compliance costs do not

 establish standing; the Final Rule does not interfere with any State policy; the States

 Plaintiffs have not demonstrated any speech injury; and their injuries are not

 redressable. The undersigned disagrees.

        The Fifth Circuit has made clear that, “[i]f, in a suit challenging the legality of

 government action, the plaintiff is himself an object of the action, there is ordinarily




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 little question that the action or inaction has caused him injury, and that a judgment

 preventing or requiring the action will redress it.” Texas v. EEOC, 933 F.3d 433, 446

 (5th Cir. 2019). See also Contender Farms, L.L.P. v. U.S. Dep’t of Agric., 779 F.3d

 258, 266 (5th Cir. 2015) (under the “ordinary rule,” a party that is the “object[] of the

 [r]egulation[] may challenge it.”).      Indeed, just recently, the Eighth Circuit,

 addressing the standing of seventeen states that sued the EEOC for APA violations

 with respect to the same provisions of the Final Rule, held that those states had

 standing to challenge the Final Rule as directly regulated entities. State v. Equal

 Emp. Opportunity Comm’n, 129 F.4th 452, 458 (8th Cir. 2025). Here, Louisiana and

 Mississippi – as employers and without the shield of Eleventh Amendment sovereign

 immunity – are, too, directly regulated by the PWFA and the Final Rule. Specifically,

 the Final Rule’s abortion accommodation, when implemented, will increase the

 States’ regulatory burdens in the form of compliance costs and manpower to change

 State regulations. 89 Fed. Reg. 29,112–13, 29,182 (EEOC_000098–99, 000168); see

 Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 928 (5th Cir. 2023). The moment the

 mandate takes effect, the States will be forced to change their accommodation policies

 or face enforcement action. [Doc. 70-2, Schober Decl. ¶ 15]; [Doc. 70-4, Hardwick Decl.

 ¶¶ 10–12]. This increased burden, alone, is sufficient for standing. See Contender

 Farms LLP v. U.S. Dep’t of Agriculture, 779 F.3d 258, 266 (5th Cir. 2015) (“An

 increased regulatory burden typically satisfies the injury in fact requirement.”).

       Moreover, changing their policies would cost the States, at minimum, an

 estimated $500 and 120 employee hours in training costs, legal expenses,




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 administrative costs, and productivity losses, a fact proffered by the States Plaintiffs

 in several declarations of State employees. See, e.g., [Doc. 70-2, Schober Decl. ¶¶ 15–

 18]; [Doc. 70-3, Keen-Schilling Decl. ¶ 7] (explaining that the same compliance costs

 likely would be borne by “all Louisiana state agencies”); [Doc. 70-4, Hardwick Decl.

 ¶¶ 10–12]. The Final Rule itself notes such costs arise independently from any

 accommodation expenses. See 89 Fed. Reg. 29,177 (“Administrative costs, which

 include rule familiarization, posting new EEOC posters, and updating EEO policies

 and handbooks, represent additional, one-time direct costs to covered entities.”). For

 Article III standing purposes, such compliance costs are classic “pocketbook injury”

 redressable through a pre-enforcement APA rule challenge. Collins v. Yellen, 594

 U.S. 220, 243 (2021).

       That the EEOC has heretofore been preliminarily enjoined by order of this

 Court from enacting the Final Rule against the States Plaintiffs is of no moment.

 “Regulated entities that assert likely economic injury have standing even before the

 challenged regulatory action fully takes effect.” Am. Farm Bureau Fed’n v. U.S.

 E.P.A., 792 F.3d 281, 293 (3d Cir. 2015), citing Sierra Club v. Morton, 405 U.S. 727,

 733–34 (1972) (“[P]alpable economic injuries have long been recognized as sufficient

 to lay the basis for standing, with or without a specific statutory provision for judicial

 review.”).

       Finally, as the Court held in its PI Ruling, “because the abortion

 accommodation mandate forces the States Plaintiffs to provide (and fund)

 accommodations for elective abortions that directly conflict with the States’ own laws




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 and policies, the abortion accommodation mandate ‘is destructive of state

 sovereignty.’” [Doc. 47, States Lawsuit, pp. 24-25]; [Doc. 53, Bishops Lawsuit, pp. 24-

 25, both citing Garcia v. San Antonio Metro. Transit Auth., 469 U.S. 528, 554 (1985)].

 The people of Louisiana and Mississippi, through their elected representatives, have

 chosen to enact legislation and promote public policy that is antithetical to the

 directives of the abortion accommodation mandate. Therefore, the States Plaintiffs

 adequately demonstrate that the abortion accommodation mandate violates the

 principles of federalism and encroaches on state sovereignty. For all of the foregoing

 reasons, the Court concludes that the States Plaintiffs have standing to challenge the

 abortion accommodation provision of the Final Rule at the summary judgment stage.

       B.     The Bishops Plaintiffs

       Similarly, the Court previously found that the Bishops Plaintiffs had standing

 to challenge the abortion accommodation mandate of the Final Rule because they

 were likely to suffer immediate harm to avoid noncompliance by the Final Rule’s

 effective date. Here, again, the Bishops Plaintiffs aver that their deeply held religious

 beliefs will not permit them to comply with the abortion accommodation mandate;

 they raise statutory and constitutional issues with the mandate under which they are

 at risk of being prosecuted; they cite EEOC’s arguments in this case that any First

 Amendment and Religious Freedom Restoration Act, 42 U.S.C. §§ 2000bb et seq.,

 (“RFRA”) exceptions to the Final Rule must be handled on a case-by-case basis; and

 they argue a legitimate fear of prosecution in light of EEOC’s demonstrated violations




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 of Catholic University’s religious exemptions in EEOC v. Catholic Univ., 83 F.3d 455,

 466 (D.C. Cir. 1996).

       Specifically,     the   Bishops   Plaintiffs   argue   that   under   the   abortion

 accommodation mandate of the Final Rule, they must knowingly violate their

 sincerely held beliefs regarding what they term the “moral evil” of “direct” abortion

 or risk liability and face years-long expensive and entangling litigation by both the

 EEOC and private parties. The Bishops Plaintiffs allege immediate harm in that

 they must take steps to begin complying with the Final Rule – including changing

 their employment policies and practices, and training employees regarding the new

 policies and practices – to avoid noncompliance, which could subject them to open-

 ended liability, investigations, and litigation by applicants, employees, former

 employees, and the EEOC. [Doc. 1, Bishops Lawsuit, ¶ 127].

       EEOC argues the Bishops Plaintiffs lack standing on grounds that any

 enforcement threat from EEOC is highly speculative and unlikely given that the

 Bishops Plaintiffs identify no employee who has sought an accommodation or leave

 for an abortion or who has filed an EEOC charge for the denial of such request, nor

 have they identified any EEOC enforcement actions brought against any employer in

 such a circumstance. Thus, EEOC argues the Bishops Plaintiffs have presented

 nothing more than an abstract, unripe claim, for which there is no hardship in

 declining review in this Court, given their ability to raise all of the same arguments

 as defenses in the event an employee ever files an EEOC charge.




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       The Fifth Circuit rejected the same argument by the EEOC in Braidwood. The

 Braidwood plaintiffs sought a declaratory judgment that EEOC’s guidance

 interpreting statutory prohibitions on sex discrimination to include sexual

 orientation and gender identity violated RFRA. 70 F.4th at 919-21. Although it was

 undisputed that the plaintiffs’ employment policies facially violated the EEOC’s

 policies, the policies had not been enforced against any individual employee. Id. at

 921. As it does here, EEOC catalogued a laundry list of hypothetical scenarios

 necessary for the plaintiffs to adequately allege injury, arguing that, until an

 employment action culminated in an actual charge filed with the EEOC and EEOC

 decided to pursue that charge, the plaintiffs could not establish standing. Id. at 926.

 Discrediting EEOC’s argument, the Fifth Circuit explained:

       Plaintiffs’ credible-threat analysis is quite simple. First, they admit
       they are breaking EEOC guidance, which the EEOC does not seriously
       contest. They posit statutory and constitutional issues with the laws
       under which they are at risk of being prosecuted: Those issues, they
       allege, are already forcing plaintiffs to choose either to restrict their
       religious practices or to risk potential penalties. And the EEOC’s
       actions in Harris, which the EEOC won under a less violative set of
       facts, indicate that plaintiffs, too, have a legitimate fear of prosecution,
       chilling their rights. “The loss of First Amendment freedoms, for even
       minimal periods of time, unquestionably constitutes irreparable injury.”
       Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 49 L.Ed.2d 547 (1976)
       (plurality opinion). Finally, the EEOC refuses to declare affirmatively
       that it will not enforce Title VII against the plaintiffs’ policies on
       homosexual and transgender behavior.

 Id. at 926–27. See also Franciscan All. v. Becerra, 47 F.4th 368, 377 (5th Cir. 2022)

 (where plaintiff refused to offer gender-reassignment surgeries or abortions in

 violation of an HHS regulation enacted pursuant to the Patient Protection and

 Affordable Care Act, and HHS steadfastly refused to promise that it would not enforce



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 the Rule, the court held plaintiff had standing to challenge the rule, noting “the loss

 of freedoms guaranteed by the First Amendment … and RFRA … constitute per se

 irreparable harm.”), citing Opulent Life Church v. City of Holly Springs., 697 F.3d

 279, 294 (5th Cir. 2012).

       Here, too, the Bishops Plaintiffs posit that their deeply held religious beliefs

 will not permit them to comply with the abortion accommodation mandate and

 further argue that EEOC’s policy of handling RFRA exceptions on a case-by-case

 basis is an actionable injury that demonstrates standing. In its PI Ruling, the Court

 concluded that because the EEOC failed to include a broad religious exception to the

 Final Rule, the Bishops Plaintiffs would be forced to litigate any religious objections

 to the abortion accommodation mandate on a case-by-case basis. The Court

 concluded that this alone would likely pose an injurious regulatory burden. [Doc. 47,

 States Lawsuit, pp. 27-29]; [Doc. 53, Bishops Lawsuit, pp. 27-29]. Thus, because the

 Bishops Plaintiffs are subject to religious exemptions only on a case-by-case basis,

 and – just like the States Plaintiffs – are each entities directly regulated by the

 PWFA, they likewise have standing under the Final Rule. See Lujan, 504 U.S. at 563

 (“the ‘injury in fact’ test requires more than an injury to a cognizable interest … [i]t

 requires that the party seeking review be himself among the injured.”); State v.

 EEOC, 129 F.4th at 457-58 (court held that seventeen states have standing to

 challenge the Final Rule where they are the object of the EEOC’s regulatory action

 and are employers covered by the PWFA and the Final Rule).




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 III.   APA Claims

        As referenced above, the APA requires courts to “hold unlawful and set aside”

 agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

 in accordance with law.” 5 U.S.C. § 706(2). Relevant here, in an APA challenge, “the

 core inquiry” is whether the proposed agency rule is a lawful extension of the statute

 under which the agency purports to act. VanDerStok v. Garland, 86 F.4th 179, 188

 (5th Cir. 2023), rev’d and remanded sub nom. on other grounds, Bondi v. VanDerStok,

 145 S. Ct. 857 (2025). When exercising this duty, the central question is “always,

 simply, whether the agency has stayed within the bounds of its statutory authority.”

 City of Arlington v. FCC, 569 U.S. 290, 297, 133 S. Ct. 1863, 185 L.Ed.2d 941 (2013).

 To answer that question, courts must begin with the statute’s text to fulfill the APA’s

 mandate to “determin[e] the meaning of statutory provisions.” Loper Bright Ents. v.

 Raimondo, 603 U.S. 369, 144 S. Ct. 2244, 219 L.Ed.2d 832 (2024); Sackett v. EPA, 598

 U.S. 651, 671, 143 S. Ct. 1322, 215 L.Ed.2d 579 (2023). This inquiry is not mechanical

 or rigid.   Instead, the plain, “ordinary meaning and structure of the law itself”

 governs. Food Mktg. Inst. v. Argus Leader Media, 588 U.S. 427, 436, 139 S. Ct. 2356,

 204 L.Ed.2d 742 (2019).

        A.     The States Plaintiffs

        In Count I of their Complaint, the States Plaintiffs allege that the Final Rule

 exceeds statutory authority by treating abortion as a condition of pregnancy. As they

 did at the PI stage, the parties argue extensively about whether an abortion is a

 “condition” or a “procedure,” and again, the Court concludes that the Plaintiffs have




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 the stronger position on this argument. The States Plaintiffs focus on the words

 pregnancy and childbirth – both of which denote the healthy and safe birth of a child

 – and argue that to interpret the next term in the series – related medical conditions

 – to cover a pregnancy-ending procedure would thus be directly contrary to ordinary

 ejusdem generis principles. 13

        In its briefing, EEOC restates its previous arguments, including its chief

 textual argument that because Title VII protects employees who choose to have (or

 not to have) an abortion – and because Congress enacted the PWFA with identical

 language as Title VII for the express purpose of expanding Title VII’s protections –

 the PWFA must also be understood to protect employees who choose to have (or not

 to have) an abortion. 14 But EEOC’s argument is misplaced for several reasons. First,




 13       “The ejusdem generis canon applies when a drafter has tacked on a catchall phrase at
 the end of an enumeration of specifics ....” United States v. Koutsostamatis, 956 F.3d 301, 308
 (5th Cir. 2020), citing Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation
 of Legal Texts 199 (2012). Where it applies, ejusdem generis “limits general terms which
 follow specific ones to matters similar to those specified.” Koutsostamatis, 956 F.3d at 308,
 citing United States v. Aguilar, 515 U.S. 593, 615, 115 S. Ct. 2357, 132 L.Ed.2d 520 (1995)
 (Scalia, J., concurring in part and dissenting in part) (quotation omitted). That is, when a
 list of specific X’s is followed by the catchall phrase “other X’s,” ejusdem generis “implies the
 addition of similar after the word other.” Scalia & Garner, supra, at 199.

 14       Specifically, EEOC points to Congress’s amendment of Title VII in 1978, which
 clarifies that “[t]he terms ‘because of sex’ or ‘on the basis of sex’ include, but are not limited
 to, because of or on the basis of pregnancy, childbirth, or related medical conditions[.]” 42
 U.S.C. § 2000e(k). In that same subsection, Congress provided that “[t]his subsection shall
 not require an employer to pay for health insurance benefits for abortion, except where the
 life of the mother would be endangered if the fetus were carried to term, or except where
 medical complications have arisen from an abortion.” Id. EEOC argues that the latter
 sentence confirms that abortion is included within the preceding statutory phrase
 “pregnancy, childbirth, or related medical conditions” in Title VII, and that because the same
 phrasing is used in the PWFA, Congress clearly intended for the PWFA to include
 accommodation for abortion.



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 “[h]ornbook canons of statutory construction require that every word in a statute be

 interpreted to have meaning, and Congress’s use and withholding of terms within a

 statute is taken to be intentional.” U.S. Chamber of Commerce v. U.S. Dep’t of Lab.,

 885 F.3d 360, 381 (5th Cir. 2018). As the Court explained in its June 17, 2024, PI

 Ruling, “we must begin with the presumption that Congress’s decision not to include

 any reference to abortion in the PWFA was intentional. Indeed, while the PWFA

 explicitly cross-references provisions of Title VII throughout, the PWFA does not

 incorporate Title VII’s amended pregnancy provision. And although Congress

 directed that certain terms incorporated within the PWFA from the ADA ‘shall be

 construed as such terms are construed’ thereunder, no provision of the PWFA

 requires incorporation of the ‘pregnancy, childbirth, or related medical conditions’

 language of 42 U.S.C. § 2000e(k).” [Doc. 47, p. 19] (internal citation omitted). 15

        Additionally as the Court pointed out in its PI Ruling, “EEOC rests its [Title

 VII] argument entirely on its own enforcement guidelines on pregnancy

 discrimination and two pre-Dobbs lower court decisions wherein employers were

 barred from taking adverse actions against employees because the employees

 ‘contemplated having, or chose to have, an abortion’ under Title VII, contending that

 these two cases comprise ‘settled’ law on the issue.” [Doc. 47, States Lawsuit, pp.18-




 15     As further support for its textual argument, the States Plaintiffs point to several pages
 of words and their definitions contained within the administrative record – including
 “adverse;” “affect;” arise;” “relate to;” and “temporary” – but contend that the EEOC did not
 – and never considered – defining the word “condition.” [Doc. 89-3, States Lawsuit, pp. 661-
 678]. The States Plaintiffs suggest that the word “condition” cannot be defined in a manner
 that contemplates the concept of elective abortion.



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 19]; [Doc. 53, Bishops Lawsuit, pp. 18-19]. See also 89 Fed. Reg. 29,110, 29,152

 n.296. 16 But the Court found that the EEOC’s “smattering of lower court opinions”

 addressing abortion in the context of Title VII hardly qualifies as a judicial consensus

 “so broad and unquestioned that we must presume Congress knew of and endorsed

 it.” [Doc. 47, States Lawsuit, pp.22-23]; [Doc. 53, Bishops Lawsuit, pp. 22-23]. See

 BP p.l.c. v. Mayor & City Council of Baltimore, 141 S. Ct. 1532, 1541 (2021), citing

 Jama v. Immigr. & Customs Enf’t, 543 U.S. 335, 350-52, 125 S. Ct. 694, 704, 160

 L.Ed.2d 708 (2005) (a “supposed judicial consensus” that “boils down to the decisions

 of two Courts of Appeals” is not sufficiently “broad and unquestioned” to support

 congressional ratification).

        Moreover, EEOC’s argument that the fact that Title VII pre-dates Dobbs v.

 Jackson Women’s Health Org., 597 U.S. 215, 142 S. Ct. 2228, 213 L.Ed.2d 545 (2022)

 is “irrelevant” to the statutory inquiry is without merit, this Court having fully

 considered and rejected this argument at the PI stage. [Doc. 47, States Lawsuit, p.

 20]; [Doc. 53, Bishops Lawsuit, p. 20] (“The Court is therefore not persuaded, on the

 record before it, that Congress could reasonably be understood to have granted the




 16      See Enforcement Guidance on Pregnancy Discrimination and Related Issues, U.S.
 Equal Employment Opportunity Commission, at (I)(A)(4)(c), n.58 (June 25, 2025),
 https://www.eeoc.gov/laws/guidance/enforcement-guidance-pregnancy-discrimination-and-
 related-issues (providing that the term “pregnancy, childbirth, or related medical conditions”
 includes current pregnancy, past pregnancy, potential or intended pregnancy, and related
 medical conditions); Doe v. C.A.R.S. Protection Plus, Inc., 527 F.3d 358, 364 (3rd Cir. 2008)
 (holding that Title VII, as amended by the PDA, prohibits an employer from discriminating
 against a female employee because she has exercised her right to have an abortion); Turic v.
 Holland Hospitality, Inc., 85 F.3d 1211, 1214 (6th Cir. 1996) (finding the termination of a
 pregnant employee because she contemplated having an abortion violated the PDA).



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 EEOC the authority to interpret the scope of the PWFA in a way that imposes a

 nationwide mandate on both public and private employers – irrespective of applicable

 abortion-related state laws enacted in the wake of Dobbs – to provide workplace

 accommodation for the elective abortions of employees.”). It is undisputed that Title

 VII was amended in 1978 to include anti-discrimination protection for pregnancy,

 childbirth, and related conditions, and that the EEOC’s Title VII implementing

 regulations incorporated the then-constitutional protections of certain abortion

 procedures as established in Roe v. Wade, 410 U.S. 113, 93 S. Ct. 705, 35 L.Ed.2d 147

 (1973). However, the Court cannot simply ignore the fact that the PWFA was enacted

 just six months after the Supreme Court decided Dobbs, which removed abortion as

 a constitutional concern and expressly returned the issue to the States. Congress

 was well aware of the implications of Dobbs when it passed the PWFA, and had it

 wanted to include an abortion accommodation provision in the PWFA, it surely would

 have done so.

       As discussed above, the PI Ruling also found that the Final Rule implicates the

 “major questions doctrine” as described by the Supreme Court. See, e.g., W. Virginia

 v. EPA, 597 U.S. 697, 723, 142 S. Ct. 2587, 2609, 213 L.Ed.2d 896 (2022) (internal

 citations omitted) (“Thus, in certain extraordinary cases, both separation of powers

 principles and a practical understanding of legislative intent make us ‘reluctant to

 read into ambiguous statutory text’ the delegation claimed to be lurking there. To

 convince us otherwise, something more than a merely plausible textual basis for the

 agency action is necessary.”). As recently explained by the Fifth Circuit, “[i]n its




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 modern formulation, the major questions doctrine rests on the principle that

 administrative agencies have no independent constitutional provenance. They ‘are

 creatures of statute. They accordingly possess only the authority that Congress has

 provided.’” All. for Fair Bd. Recruitment v. Sec. & Exch. Comm’n, 125 F.4th 159, 181

 (5th Cir. 2024), citing NFIB v. OSHA, 595 U.S. 109, 117, 142 S. Ct. 661, 211 L.Ed.2d

 448 (2022) (per curiam). “Because [an] agency has no inherent or implied authority,

 its powers to make major decisions must come only from unequivocal statutory text.”

 All. for Fair Bd. Recruitment, 125 F.4th at 181.

        Given the political, social, and religious significance of the abortion issue in

 this country, the PI Ruling explained that EEOC must point to “clear congressional

 authorization” for the power it claims in the Final Rule. 17 [Doc. 47, States Lawsuit,

 p. 22]; [Doc. 53, Bishops Lawsuit, p. 22]. EPA, 597 at 723. And as the PI Ruling

 emphasized, “[n]ot only is the EEOC unable to point to any language in the PWFA

 empowering it to mandate the accommodation of elective abortions, but there can be

 little doubt in today’s political environment that any version of the PWFA that

 included an abortion accommodation requirement would have failed to pass

 Congress.” [Doc. 47, States Lawsuit, p. 22]; [Doc. 53, Bishops Lawsuit, p. 22]. That

 finding remains true today, and the Court concludes that the EEOC has failed to


 17      “[A]n agency literally has no power to act ... unless and until Congress confers power
 upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374, 106 S. Ct. 1890, 90 L.Ed.2d 369
 (1986). See also Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208, 109 S. Ct. 468, 102
 L.Ed.2d 493 (1988) (“It is axiomatic that an administrative agency’s power to promulgate
 legislative regulations is limited to the authority delegated by Congress.”); Clean Water
 Action v. U.S. Env’t Prot. Agency, 936 F.3d 308, 313 n.10 (5th Cir. 2019) (“To be sure, agencies,
 as mere creatures of statute, must point to explicit Congressional authority justifying their
 decisions.”).


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 point to clear congressional authorization for the inclusion of abortion protection in a

 statute intended only to accommodate and protect female employees during

 pregnancy.

       Finally, as the State of Tennessee expressed in its comments to the EEOC’s

 proposed rule, the legislative history of the PWFA provides “extra icing on a cake

 already frosted,” [Doc. 89-2, States Lawsuit, pp. 246], and leaves no room for the

 EEOC’s interpretation of the statute. As the Court stated in granting the States

 Plaintiffs a preliminary injunction:

       … [T]he legislative history unambiguously confirms that Congress
       specifically did not intend for the PWFA to require employers to
       accommodate abortion. Indeed, lawmakers from both sides of the aisle
       expressly stated that the PWFA does not address abortion. The
       Democratic sponsor of the PWFA, Senator Bob Casey, emphasized in
       response to concerns that abortion might be at issue: “I want to say for
       the record … that under the [PWFA], the [EEOC] could not – could not
       – issue any regulation that requires abortion leave, nor does the act
       permit the EEOC to require employers to provide abortions in violation
       of State law.” 168 Cong. Rec. S7050 (daily ed. Dec. 8, 2022). Republican
       Senator Steve Daines similarly noted that “Senator Casey’s statement
       reflects the intent of Congress in advancing the [PWFA] today. This
       legislation should not be misconstrued by the EEOC or Federal courts
       to impose abortion-related mandates on employers, or otherwise to
       promote abortions, contrary to the intent of Congress.” 168 Cong. Rec.
       S10081 (daily ed. Dec. 22, 2022). And Republican Senator Bill Cassidy,
       also a sponsor of the PWFA, likewise “reject[ed] the characterization
       that [the PWFA] would do anything to promote abortion.” 168 Cong.
       Rec. S7050 (daily ed. Dec. 8, 2022). Additionally, after concerns were
       raised about the PWFA’s initial failure to include a religious exemption,
       Senator Cassidy confirmed on the Senate floor that the PWFA “allows
       employers to make employment decisions based on firmly held religious
       beliefs.” 168 Cong. Rec. S7050 (daily ed. Dec. 8, 2022).

 [Doc. 47, States Lawsuit, pp. 23-24]; [Doc. 53, Bishops Lawsuit, pp. 23-24].




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        Considering the foregoing, the Court concludes that EEOC’s interpretation of

 the PWFA to include an abortion accommodation mandate clearly and unequivocally

 exceeds its statutory authorization. 18

        B.     The Bishops Plaintiffs

        The Bishops Plaintiffs seek summary judgment on Counts I, III, V-VII, and IX-

 X of their Complaint. Like the States Plaintiffs, in Count I of their Complaint, the

 Bishops Plaintiffs allege that the abortion accommodation of the Final Rule violates

 the canons of statutory textual interpretation and construction, and the EEOC

 thereby exceeds its statutory authority under the APA. Because the Court’s findings

 with respect to the textual analysis of the abortion accommodation mandate are

 equally applicable to the Bishops Plaintiffs, who make the same argument, and for

 the reasons discussed in the previous section, the Bishops Plaintiffs are entitled to

 judgment as a matter of law on Count I of their Complaint. 19




 18     Because the Court finds that the States Plaintiffs are entitled to summary judgment
 on Count I of their Complaint, and because the remedy for such violation is vacatur of the
 Final Rule’s abortion accommodation provision, the Court need not address Counts II-IV in
 the States Plaintiffs’ Complaint. See [Doc. 70-1, p. 32] (noting focus on Count I). See also
 Flight Training Int'l, Inc. v. FAA, 58 F.4th 234, 246 (5th Cir. 2023) (finding that because
 court found Rule was issued without observance of procedure required by law, it was not
 necessary to reach the plaintiff’s alternative issues), cited in Texas v. Becerra, 739 F. Supp.
 3d 522, 532 (E.D. Tex. 2024), modified on reconsideration, 2024 WL 4490621 (E.D. Tex. Aug.
 30, 2024) (where court found Final Rule exceeded statutory authority, it was not necessary
 to consider alternative arguments).

 19      The Bishops Plaintiffs also allege the Final Rule violates the APA inasmuch as it
 requires accommodation for contraception and “fertility treatment” such as in vitro
 fertilization (IVF) and surrogacy. 29 C.F.R. § 1636.3(b). See also 89 Fed Reg. 29,183. This
 issue was not addressed by the Court in its PI Ruling, and the Court declines to address the
 issue now. Rather, the Court will conduct a status conference with counsel after the filing of
 this Ruling to discuss and narrow the issues that remain to be decided.



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        Although the Court’s determination that the Bishops Plaintiffs are entitled to

 summary judgment on Count I is sufficient to address the gravamen of their

 Complaint, the Court also addresses Count III of the Bishops Plaintiff’s Complaint

 because the issue was discussed in the Court’s PI Ruling. In Count III of their

 Complaint, the Bishops Plaintiffs allege that the EEOC’s Final Rule has also

 unlawfully narrowed the PWFA and Title VII religious exemptions, taking the view

 that both protect only against claims for religious-based discrimination. 89 Fed. Reg.

 at 29,146-47 & n.239. To be clear, Title VII includes an exemption for religious

 employers, 42 U.S.C. § 2000e(j) (defining “religion”), and the text of the PWFA

 directly incorporates Title VII’s religious exemption and makes the entire PWFA

 “subject to” the exemption. 42 U.S.C. § 2000gg-5(b). 20 While Title VII states: “This

 subchapter shall not apply to … a religious corporation, association, educational

 institution, or society with respect to the employment of individuals of a particular

 religion,” 42 U.S.C. § 2000e-1(a), the Final Rule declines to adopt a blanket exemption

 for religious employers. 21 Instead, the Interpretive Guidance provides that the merits



 20     The religious exception of the PWFA is contained in Section 107(b) and provides as
 follows:

        (b) Rule of construction. This chapter is subject to the applicability to religious
        employment set forth in section 2000e-1(a) of this title.

 42 U.S.C. § 2000gg-5(b).

 21     The Final Rule provides:

        (b) Rule of construction. The PWFA and this part are subject to the
            applicability to religious employment set forth in section 702(a) of the Civil
            Rights Act of 1964, 42 U.S.C. 2000e–1(a).



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 of an employer’s defense that it took a proscribed action on the basis of religion will

 be determined on a “case-by-case” basis and religious employers may only raise

 religious defenses – including RFRA, 42 U.S.C. § 2000bb, et seq., and the ministerial

 exception – if and when a charge is filed against them. 89 Fed. Reg. 29,146-47. 22

        Contesting this view, the Bishops Plaintiffs argue that Title VII exempts

 religious entities from the requirements of the entire “subchapter – e.g., all of Title

 VII, not merely one category of claims – protecting religious employers from any Title

 VII claim if an employer made an employment decision based on an individual’s

 particular religious belief, observance, or practice.” See, e.g., EEOC v. Mississippi




           (1) Nothing in 42 U.S.C. 2000gg–5(b) or this part should be interpreted
               to limit a covered entity’s rights under the U.S. Constitution.

           (2) Nothing in 42 U.S.C. 2000gg–5(b) or this part should be interpreted
               to limit an employee’s rights under other civil rights statutes.

 29 C.F.R. § 1636.7(b).

 22     The Interpretive Guidance of the Final Rule explains:

        Under the Commission’s interpretation of section 107(b), the PWFA does not
        fully exempt qualifying religious organizations from making reasonable
        accommodations. This is analogous to section 702(a), which likewise does not
        operate as a total exemption from Title VII’s requirements.

        Under section 702(a), for example, qualifying religious organizations are
        exempt from Title VII’s prohibition against discrimination on the basis of
        religion, but, as U.S. courts of appeals have recognized, qualifying religious
        organizations are still subject to the law’s prohibitions against discrimination
        on the basis of race, color, sex, and national origin, and they may not engage
        in related retaliation. If a qualifying religious organization asserts as a defense
        to a claim under the PWFA that it took the challenged action on the basis of
        religion and that section 107(b) should apply, the merits of any such asserted
        defense will therefore be determined on a case-by-case basis consistent with
        the facts presented and applicable law.

 Final Rule, 29096-01, 29146-47 (internal citation omitted).


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 Coll., 626 F.2d 477, 485-86 (5th Cir. 1980) (barring a sex-discrimination investigation

 under Title VII where a religious employer “applied its policy of preferring Baptists

 over non-Baptists.”); Curay-Cramer v. Ursuline Academy, 450 F.3d 130, 132 (3d Cir.

 2006) (religious exemption bars sex-discrimination claim); Bear Creek Bible Church

 v. Equal Employment Opportunity Commission, 571 F. Supp. 3d 571, 591 (N.D. Tex.

 2021) (“The plain text of [the religious] exemption” bars sex-discrimination claims

 “when [a religious employer] refuses to employ an individual … based on religious

 observance, practice, or belief), aff’d in part and vacated in part by Braidwood Mgmt.,

 Inc. v. Equal Emp. Opportunity Comm’n, 70 F.4th 914 (5th Cir. 2023). That is, the

 Bishops Plaintiffs argue the Final Rule violates the protections for religious

 employers that Congress included in the statute itself.

       In its PI Ruling, the Court found that this “case-by-case” religious exemption

 in the Final Rule provided the Bishops Plaintiffs with standing to challenge the

 abortion accommodation mandate of the Final Rule. The lawfulness of scope of the

 Final Rule’s religious exemption within the purview of the Court’s limited grant of

 authority under the APA, however, is a separate issue that the Court is ill-equipped

 to address on the briefs before it – especially given the recent change in the

 administration and resulting statement of Andrea Lucas, Acting Commissioner of the

 EEOC. See Position of Acting Chair Lucas Regarding the Commission’s Final

 Regulations Implementing the Pregnant Workers Fairness Act, U.S. Equal

 Employment Opportunity Commission, https://www.eeoc.gov/wysk/position-acting-

 chair-lucas-regarding-commissions-final-regulations-implementing-pregnant         (last




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 visited May 20, 2025). For this reason, the Court declines to enter judgment at this

 juncture on Count III of the Bishops Plaintiffs’ Complaint. 23

 IV.    Vacatur

        The APA specifically “empowers and commands courts to ‘set aside’ unlawful

 agency actions,” 5 U.S. § 706(2), allowing a district court’s vacatur to render a

 challenged agency action “void.” Texas Med. Ass’n v. United States Dep’t of Health &

 Hum. Servs., 110 F.4th 762, 779 (5th Cir. 2024), citing Texas v. Biden, 20 F.4th 928,

 957 (5th Cir. 2021), rev’d on other grounds, 597 U.S. 785, 142 S. Ct. 2528, 213 L.Ed.2d

 956 (2022), quoting 5 U.S.C. § 706. Binding Fifth Circuit precedent recognizes this

 remedy. Texas Med. Ass’n, 110 F.4th at 779, citing Data Marketing Partnership, LP

 v. United States Dep’t of Labor, 45 F.4th 846, 856 n.2 (holding that Texas v. Biden

 “remains binding” “except for the portions of it on statutory interpretation and final

 agency action”); Franciscan All., Inc. v. Becerra, 47 F.4th 368, 374-75 (5th Cir. 2022)

 (“Vacatur is the only statutorily prescribed remedy for a successful APA challenge to

 a regulation.”).

        When awarding relief under Section 706(2), the Court may fashion the remedy

 in one of two ways: remand the Rule with vacatur or remand the Rule without

 vacatur. Texas v. United States, 50 F.4th 498, 529–30 (5th Cir. 2022). As the Fifth

 Circuit has explained, the default rule is to vacate and remand the unlawful agency



 23     Because the Court finds that the Bishops Plaintiffs are entitled to summary judgment
 on Count I of their Complaint, and because the remedy for such violation is vacatur of the
 Final Rule’s abortion accommodation mandate, the Court declines to address the remaining
 counts in the Bishops Plaintiffs’ Complaint at this juncture.



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 action. Data Mktg. P’ship, LP v. United States Dep’t of Labor, 45 F.4th 846, 859 (5th

 Cir. 2022). Remand without vacatur, on the other hand, is an “exceptional remedy”

 that courts may provide in exercising their discretion. Am. Great Lakes Ports Ass'n

 v. Schultz, 962 F.3d 510, 519 (D.C. Cir. 2020); Brown v. U.S. Dep’t of Educ., No. 4:22-

 CV-0908, 640 F.Supp.3d 644, 667–68 (N.D. Tex. Nov. 10, 2022). Remand with vacatur

 “re-establish[es] the status quo” before the unlawful agency action took place. Texas

 v. United States, 40 F.4th 205, 220 (5th Cir. 2022).        Remand without vacatur,

 however, “leaves the rule in place during remand.” Am. Forest Res. Council v. Ashe,

 946 F. Supp. 2d 1, 43 (D.D.C. 2013). Consequently, “remand without vacatur creates

 a risk that an agency may drag its feet and keep in place an unlawful agency rule.”

 EME Homer City Generation, L.P. v. EPA, 795 F.3d 118, 132 (D.C. Cir. 2015). As

 such, remand without vacatur is appropriate only “when there is at least a serious

 possibility that the agency will be able to substantiate its decision given an

 opportunity to do so.” State v. Biden, 10 F.4th 538, 560 (5th Cir. 2021), quoting Texas

 Ass’n of Mfrs. v. U.S. Consumer Prod. Safety Comm’n, 989 F.3d 368, 389 (5th Cir.

 2021). Here, the Court determines that remand with vacatur is required.

       Notwithstanding the foregoing, “[i]f vacatur is sufficient to address the injury,

 it is improper to also issue an injunction. Texas v. United States, 606 F. Supp. 3d 437,

 501 (S.D. Tex. 2022), rev’d, 599 U.S. 670, 143 S. Ct. 1964, 216 L.Ed.2d 624 (2023),

 citing Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165–66, 130 S. Ct. 2743,

 2761, 177 L.Ed.2d 461 (2010) (“An injunction is a drastic and extraordinary remedy,

 which should not be granted as a matter of course ... If a less drastic remedy (such as




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 partial or complete vacatur of [the agency’s] deregulation decision) was sufficient to

 redress respondents’ injury, no recourse to the additional and extraordinary relief of

 an injunction was warranted.”). It is equally clear that the scope of ultimate relief

 under Section 706 is not party-restricted, but rather directs federal courts to wholly

 “set aside” unlawful agency action. Career Colleges & Sch. of Texas v. United States

 Dep’t of Educ., 98 F.4th 220, 255 (5th Cir. 2024), cert. granted in part sub nom. Dep’t

 of Educ. v. Career Colleges & Sch. of Texas, 145 S. Ct. 1039, 220 L.Ed.2d 375 (2025).

 See also BST Holdings, L.L.C. v. OSHA, 17 F.4th 604 (5th Cir. 2021) (where court

 stayed OSHA’s vaccine mandate without party limitation); Harmon v. Thornburgh,

 878 F.2d 484, 495 n. 21 (D.C. Cir. 1989) (“When a reviewing court determines that

 agency regulations are unlawful, the ordinary result is that the rules are vacated –

 not that their application to the individual petitioners is proscribed.”).

       In the instant action, both the States and Bishops Plaintiffs seek vacatur of the

 abortion accommodation provision of the Final Rule “without limitation,” that is, on

 a nationwide basis, as well as a permanent injunction. But because this case is only

 cognizable in this Court pursuant to the statutory authorization granted to it by the

 APA, and because vacatur and remand of the abortion accommodation mandate and

 the Interpretive Guidance of the Final Rule will remedy the parties’ injuries, a

 permanent injunction is neither required nor permitted upon the showing made by

 the Plaintiffs.   The Court therefore finds that only vacatur of the abortion

 accommodation mandate and remand to the EEOC is appropriate at this stage. Any




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 further relief requested by the parties will be addressed at a status conference

 scheduled herein.

                                 ORDER AND REMEDY

       Considering the foregoing,

       IT IS HEREBY ORDERED that the MOTION FOR SUMMARY JUDGMENT [Doc.

 70] filed by the States Plaintiffs in the matter entitled State of Louisiana, et al v.

 EEOC, No. 2:24-cv-00629-DCJ-TPL, and the MOTION FOR PARTIAL SUMMARY

 JUDGMENT AND PERMANENT INJUNCTION [Doc. 77] filed by the Bishops Plaintiffs in

 the matter entitled United States Conference of Catholic Bishops, et al v. EEOC, et al,

 No. 2:24-cv-00691-DCJ-TPL, are hereby GRANTED IN PART, and the following

 provision of the Final Rule, to the extent that it includes “abortion” as a “related

 medical condition” of pregnancy and childbirth, is hereby VACATED:

       29 C.F.R. 1636.3(b) defines “related medical conditions” as follows:

       (b) Pregnancy, childbirth, or related medical conditions.
           “Pregnancy” and “childbirth” refer to the pregnancy or childbirth of
           the specific employee in question and include, but are not limited to,
           current pregnancy; past pregnancy; potential or intended pregnancy
           (which can include infertility, fertility treatment, and the use of
           contraception); labor; and childbirth (including vaginal and cesarean
           delivery). “Related medical conditions” are medical conditions
           relating to the pregnancy or childbirth of the specific employee in
           question. The following are examples of conditions that are, or may
           be, “related medical conditions”: termination of pregnancy,
           including via miscarriage, stillbirth, or abortion; ectopic
           pregnancy; preterm labor; pelvic prolapse; nerve injuries; cesarean
           or perineal wound infection; maternal cardiometabolic disease;
           gestational diabetes; preeclampsia; HELLP (hemolysis, elevated
           liver enzymes and low platelets) syndrome; hyperemesis
           gravidarum; anemia; endometriosis; sciatica; lumbar lordosis; carpal
           tunnel syndrome; chronic migraines; dehydration; hemorrhoids;
           nausea or vomiting; edema of the legs, ankles, feet, or fingers; high



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           blood pressure; infection; antenatal (during pregnancy) anxiety,
           depression, or psychosis; postpartum depression, anxiety, or
           psychosis; frequent urination; incontinence; loss of balance; vision
           changes; varicose veins; changes in hormone levels; vaginal bleeding;
           menstruation; and lactation and conditions related to lactation, such
           as low milk supply, engorgement, plugged ducts, mastitis, or fungal
           infections. This list is non-exhaustive.

 29 C.F.R. § 1636.3(b) (emphasis added).

       IT IS FURTHER ORDERED that any Implementing Regulations or Guidance

 that are inconsistent with this Order, that is, to the extent that they require or

 suggest to employers that they are required to provide employees with

 accommodation for purely elective abortions that are not necessary to treat a medical

 condition related to pregnancy, 24 are also hereby VACATED and immediately

 without effect.

       IT IS FURTHER ORDERED that the MOTION TO DISMISS, OR IN THE

 ALTERNATIVE, FOR SUMMARY JUDGMENT [Doc. 68] filed by the EEOC in the matter

 entitled State of Louisiana, et al v. EEOC, No. 2:24-cv-00629-DCJ-TPL, and the

 MOTION TO DISMISS, OR IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT [Doc. 75] filed

 by the EEOC in the matter entitled United States Conference of Catholic Bishops, et

 al v. EEOC, et al, No. 2:24-cv-00691-DCJ-TPL, are hereby DENIED.




 24     To avoid any uncertainty, terminations of pregnancy or abortions stemming from the
 underlying treatment of a medical condition related to pregnancy are not affected by this
 Order. Such procedures are clearly “related to, affected by, or arising out of pregnancy,
 childbirth, or related medical conditions.” 42 U.S.C. § 2000gg(4). Covered employers are
 therefore required to provide accommodation to the extent set forth in the PWFA.


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       IT IS FURTHER ORDERED that the Preliminary Injunction, [Doc. 47, States

 Lawsuit]; [Doc. 53, Bishops Lawsuit], currently in place in these matters shall remain

 in place until final dismissal of these matters or further order of the Court.

       IT IS FURTHER ORDERED that the Court will conduct an in-person status

 conference with the parties on June 17, 2025, at 10:00 a.m. to discuss de-consolidation

 of the above-captioned matters, resolution of additional discreet issues raised by the

 Bishops Plaintiffs alone, and the creation of any necessary briefing schedule to

 address those issues.

       IT IS FURTHER ORDERED that the Court finds that there is no just reason

 for delaying entry of final judgment on the vacatur and remand ordered herein. This

 Memorandum Order therefore constitutes a FRCP 54(b) partial final and appealable

 judgment as to the abortion accommodation mandate VACATED herein, and the

 FINAL RULE is therefore REMANDED to the EEOC for action consistent with the

 Court’s findings.

       THUS, DONE AND SIGNED in Chambers on this 21st day of May 2025.




                                            DAVID C. JOSEPH
                                            UNITED STATES DISTRICT JUDGE




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